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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


WESLEY GACHETT, on behalfof himself and
those similarly situated,

               Plaintiff,                                 Civil Action No.: 2:1 8-cv- 1611 9-WJM-MF

       vs.

DEVILLE ASSET MANAGEMENT, LTD;                                 ORDER FOR STAY AND
VIP CAPITAL CORPORATION;                                   ADMINISTRATIVE TERMINATION
JBL HOLDINGS LLC;
JAY B. LEDfORD; and
JOHN DOES ito 10,

               Defendants.


       This matter having come before the Court by Plaintiffs request to stay this matter (ECF

No. 5) pending the proceedings in Securities and Exchange Commission v. Kevin B. Merrill, et

al., RDB-1$-2$44 and United States v. Kevin B. Merrill, et ai1., Criminal No. RDB-1$-0465

currently pending in the District of Maryland, and therefore,

       IT IS on this               day of April 2019

       ORDERED that this action is hereby stayed and administratively terminated, that this

termination shall not constitute a dismissal under Fed. R. Civ. P. 41, and does not bear any

consequences for purposes of the statute of limitations; and it is further

       ORDERED that Plaintiff shall file a letter to restore this matter once the civil and

criminal proceedings in the District of Maryland have been resolved.




                                                                Hon. William J.    i, U.S.D.J.


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